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John J. Russell
Lisa A. Speare
BROWN LAW FIRM, P.C.
315 North 24th Street
P.O. Drawer 849
Billings, MT 59103-0849
Telephone (406) 248-2611
Facsimile (406) 248-3128
Attorneys for Defendant Keith R. Shultz, M.D.




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA,
                          BILLINGS DIVISION

DENISE FABRIZIUS and                        )   Cause No. 08-114-BLG-RFC
WILLIAM FABRIZIUS,                          )
                                            )
                  Plaintiffs,               )   DEFENDANT KEITH R.
                                            )   SHULTZ, M.D.’s MOTION
v.                                          )   FOR PARTIAL SUMMARY
                                            )   JUDGMENT AND BRIEF
KEITH R. SHULTZ, M.D.,                      )   IN SUPPORT
YELLOWSTONE SURGERY CENTER,                 )
DOES 1 through X, and DOES 1 through        )
X, inclusive,                               )
                                            )
                  Defendants.               )


      Defendant, Keith R. Shultz, MD, (Dr. Shultz), through his counsel, hereby

moves this Court for an Order granting Defendant, Dr. Shultz partial summary

judgment pursuant to Rule 56, Fed.R.Civ.P.      Specifically, Dr. Shultz seeks

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judgment in his favor on Plaintiffs’ claims for punitive damages and Plaintiffs’

claim that res ipsa loquitur applies in this medical negligence case. There is no

genuine issue as to any material fact on either of the two claims entitling Dr. Shultz

to judgment as a matter of law. Pursuant to L.R. 7.1 (c)(1), counsel for Dr. Shultz

has contacted Plaintiffs’ counsel and this motion is opposed. A Statement of

Undisputed Facts, as required by L.R. 56.1(a), is filed contemporaneously with this

Motion and Brief in Support of Dr. Shultz’s Motion for Partial Summary Judgment.

                               BRIEF IN SUPPORT

      Plaintiffs’ claim for punitive damage based on allegations that Dr. Shultz

maliciously altered the medical record to evade liability should be dismissed for

three separate and distinct reasons: 1) undisputed facts reveal the alleged alteration

did not cause damages; 2) undisputed facts reveal the claim of actual malice or fraud

is barred by the statute of limitations because it does not relate back to the original

Complaint; and 3) the claim for punitive damages based on the alleged alteration of

the record should be dismissed because the conduct at issue was never brought

before the Montana Medical Legal Panel as required by Montana law. Plaintiffs’

third cause of action which involves the theory of res ipsa loquitur should be

dismissed because this case does not involve a foreign body left in a patient.




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I. Standard of Review

      A party is entitled to summary judgment upon a showing “that there is no

genuine issue as to any material fact and that the moving party is entitled to

judgment as a matter of law.” Nielsen v. TIG Ins. Co. (D. Mont. 2006), 442

F.Supp.2d 972, 975 (quoting Rule 56(c), Fed.R.Civ.P.).

II. Applicable Law

      State substantive law and federal procedural law apply to this case which is in

federal court based on diversity jurisdiction. Erie R.R. v. Tompkins, 304 U.S. 64,

78, 58 S.Ct. 817, 822, 82 L.Ed. 1188 (1938).

III. Factual Background

      Pursuant to L. R. 56.1(a), Defendant has contemporaneously filed a Statement

of Undisputed Facts which is incorporated herein by reference and set out in part

below.

      Plaintiffs filed the instant lawsuit alleging professional negligence against

Keith Shultz, M.D., a Board Certified anesthesiologist. DSSUF, ¶ ¶ 1, 3.         The

original Complaint was based solely upon his care of Plaintiff, Denice D. Fabrizius,

on November, 10, 2004, when he performed a cervical epidural steroid injection on

Ms. Fabrizius. DSSUF, ¶ 3.

      On November 6, 2007, prior to filing the Complaint and four days before the

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three year statute of limitations expired, Plaintiffs filed a Montana Medical Legal

Panel [MMLP] claim as required by Montana law. The MMLP claim was based

solely upon the November 10, 2004 procedure and not upon any alleged, subsequent

alteration of the medical record. DSSUF, ¶ 4. The Panel rendered its Decision on

February 19, 2008. DSSUF, ¶ 5.

      Dr. Shultz dictated his procedure note on Ms. Fabrizius on November, 10,

2004, the date of the procedure. DSSUF, ¶ 6 As usual, his dictation was then

transcribed. DSSUF, ¶ 6. Page two of the preliminary typed dictation stated:

“Subsequent to the epidurogram, no evidence of CSF and paresthesia seems to

improve.   After subsequent negative aspiration of 40 milligrams of Kenalog

followed by 0.25% of Marcaine 1 cc was injected without difficulty.” DSSUF, ¶ 7.

      Upon review of the preliminary document, one to two weeks after the

procedure note was dictated, Dr. Shultz made changes before he signed it and it

became the final medical record of the epidural injection.           DSSUF, ¶ 8.

Specifically, before signing the preliminary report, Dr. Shultz changed the sentence

on page 2 of the preliminary document to “more accurately reflect then what

happened during the procedure.” DSSUF, ¶ 9. Page two of the final, signed,

medical record reads as follows: “Subsequent to the epidurogram, no evidence of

CSF, and paresthesia improved. Subsequent negative aspiration was done and 40

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milligrams of Kenalog followed by 0.25 percent of Marcaine 1 cc was injected

without difficulty.” DSSUF, ¶ 10.

      Plaintiffs obtained leave of this Court to amend their Complaint to allege a

claim of punitive damages based on the above alleged alteration of the medical

record. DSSUF, ¶ 11. Plaintiffs’ Amended Complaint seeking punitive damages

for alleged malice or fraud is based upon entirely different conduct from that alleged

at the MMLP or in the original Complaint. DSSUF, ¶ 12. In fact, the Second

Amended Complaint seeks punitive damages based upon alleged conduct which

occurred one or two weeks after the original care on November 10, 2004. DSSUF, ¶

13.

      With the exception of the draft, unsigned copy of Dr. Shultz’s report found in

referring physician, Dr. Copeland’s, record, it appears no treating healthcare

provider asked for or received Dr. Shultz’s report of the visit at issue. DSSUF, ¶ 14.

Dr. Copeland denies reading reports like Dr. Shultz’s in very close detail because the

information is usually not very pertinent and in all likelihood he already has the

information.   DSSUF, ¶ 14.      There is no evidence of any treating healthcare

provider relying on either Dr. Shultz’s draft report or Dr. Shultz’s signed, medical

record from the November 10, 2004 encounter with Mrs. Fabrizius. DSSUF, ¶ 15.

In fact, even Plaintiffs’ own expert, Patrick Faricy, M.D., testified that Dr. Shultz’s

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changes did not cause any injury to Denise Fabrizius. DSSUF, ¶ 25.

IV.   Argument

      A. Plaintiffs cannot make the threshold showing that the alleged alteration of
         the medical record by Dr. Shultz caused damage to Mrs. Fabrizius.

      The Montana Supreme Court has concluded that no plaintiff is entitled to

exemplary damages as a matter of right, regardless of the situation or the sufficiency

of the facts. Davis v. Sheriff, 234 Mont. 126, 133, 762 P.2d 221, 226 (1988). If a

defendant establishes an absence of a genuine issue of material fact as to one of the

elements constituting a cause of action summary judgment in defendant’s favor on

that cause of action is proper. Maffei v. Northern Ins. Co. of New York, 12 F.3d

892, 899 (9th Cir. 1993). Additionally, the Montana Supreme Court has affirmed

judgment as a matter of law in favor of a defendant where the plaintiff failed to

present sufficient evidence to establish a prima facie case of causation. Riley v.

American Honda, 259 Mont. 128, 856 P.2d 196 (1993)(affirming a directed verdict).

      The Montana Supreme Court discussed sufficiency of the evidence in

punitive damages in Laumann v. Lee, 192 Mont. 84, 626 P.2d 830 (1981). In

Laumann, the plaintiff was involved in a two-vehicle accident with defendant

Wright. Witnesses reported seeing no headlights from the vehicle Wright drove.

Defendant Lee was Wright’s step-father and the owner of the vehicle Wright drove.

Lee arrived on the scene of the accident and the investigating officer pointed out that
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the vehicle headlight appeared to be obscured and dirty. Lee immediately began

wiping dirt off the headlight. The officer stopped Lee after one swipe. The officer

then stepped away from the vehicle and Lee was seen wiping the headlights from

behind his back. Lee then left the scene with defendant Wright in another vehicle.

The officer was unable to test the illumination of the headlight. Laumann, 192

Mont. at 87, 626 P.2d at 832. The plaintiff sued Wright for negligence and sued

Lee for punitive damages. The jury found no negligence by Wright, but awarded

$17,500.00 against Lee in punitive damages. The jury found that Lee willfully

violated the law and that the plaintiff suffered actual damages as a result of Lee’s

violation of the law. “Based on these determinations, the jury made its award of

exemplary damages.” Id. at 87-88, 626 P.2d at 832.

      On appeal, the Montana Supreme Court noted that § 27-1-202, MCA,

provides for an award of actual damages. The Court further noted that § 27-1-221,

MCA, regarding punitive damages, sets no requirement of an underlying tort or

mental distress for their recovery. Rather, “[a] plaintiff need only show actual

damages pursuant to § 27-1-202, MCA.” Id. at 88, 626 P.2d at 833.

      The Court further held that although the precise extent of the damages

attributable to the destruction of physical evidence may have been elusive, the Court

could not say that the plaintiff definitely was not damaged as a result of Lee’s

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wanton acts. In fact, there was an identifiable basis for actual damages from the

plaintiff’s deprivation of results of testing on the headlights. The Court held “the

finding of actual damages is the primary requisite step toward any award of

exemplary damages.” Id. at 89, 626 P.2d at 833.

      Section 27-1-221, MCA, allows an award of punitive damages when the

defendant has been found guilty of actual fraud or actual malice. The statute sets

forth the requirements for actual malice and actual fraud and provides:

      (2)   A defendant is guilty of actual malice if the defendant has
            knowledge of facts or intentionally disregards facts that create a
            high probability of injury to the plaintiff and:

            (a)    deliberately proceeds to act in conscious or
                   intentional disregard of the high probability of
                   injury to the plaintiff; or

            (b)    deliberately proceeds to act with indifference to the
                   high probability of injury to the plaintiff.

      (3)   A defendant is guilty of actual fraud if the defendant:

            (a)    makes a representation with knowledge of its
                   falsity; or

            (b)    conceals a material fact with the purpose of
                   depriving the plaintiff of property or legal rights or
                   otherwise causing injury.

      (4)   Actual fraud exists only when the plaintiff has a right to rely
            upon the representation of the defendant and suffers injury as a
            result of that reliance.

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Section 27-1-221, MCA (2009).

      In this case, to avoid summary judgment in favor of Dr. Shultz on the punitive

claim based on actual malice, Fabrizius’ need to make a threshold showing that Dr.

Shultz knew of or intentionally disregarded “facts that create[d] a high probability of

injury” to Mrs. Fabrizius. Plaintiff also must show that despite this knowledge, Dr.

Shultz “deliberately proceed[ed] to act in conscious or intentional disregard of the

high probability of injury to [Mrs. Fabrizius] or “deliberately proceed[ed] to act with

indifference to the high probability of injury to [Mrs. Fabrizius].” § 27-1-221(2),

MCA (2009); see State Medical Oxygen & Supply, Inc. v. American Medical Oxygen

Co., 267 Mont. 340, 344, 883 P.2d 1241, 1243 (1994).

      Likewise, to avoid summary judgment on a claim for punitive damages based

on actual fraud, Plaintiffs must make a threshold showing that “[Dr. Shultz ma[de] a

representation with knowledge of its falsity” or that he “conceal[ed] a material fact

with the purpose of . . . causing injury” to Mrs. Fabrizius.” § 27-1-221(3), MCA

(2009). Finally, “[a]ctual fraud exists only when the plaintiff has a right to rely

upon the representation of the defendant and suffers injury as a result of that

reliance.” § 27-1-221(4), MCA (2009).

      In this instance, Dr. Shultz reviewed the draft transcription of his dictation and

corrected the preliminary report to “more accurately reflect then what happened

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during the procedure.”     DSSUF, ¶ 9.        Dr. Shultz made the changes to the

preliminary report before he signed it and it became an official, medical record of

the November 10, 2004 procedure. DSSUF, ¶ 8. Additionally, with the sole

exception of the draft, unsigned copy of Dr. Shultz’s report found in the medical

chart of the referring physician, Dr. Copeland, it appears no treating, healthcare

provider asked for or received Dr. Shultz’s report of the visit at issue. DSSUF, ¶ 14.

Referring physician, Dr. Copeland, denies reading reports like Dr. Shultz’s in very

close detail because the information is usually not very pertinent and, in all

likelihood, he already has the information. DSSUF, ¶ 14. In fact, there is no

evidence that any treating healthcare provider relied on either Dr. Shultz’s draft

report or Dr. Shultz’s signed medical record from the November 10, 2004, encounter

with Mrs. Fabrizius. DSSUF, ¶ 15.

      A look at the signed medical record with the handwritten corrections by Dr.

Shultz reveals that a healthcare provider can see and read both the typed, unsigned,

preliminary report and the handwritten changes or corrections made by Dr. Shultz

before he signed it and it became the final, medical record of the procedure.

Notably, even Plaintiffs’ expert, Patrick Faricy, M.D., testified that Dr. Shultz’s

changes in the preliminary report did not cause any injury to Denise Fabrizius.

DSSUF, ¶ 16.

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         Plaintiffs fail to make a threshold showing that the preliminary draft or the

final medical record at issue caused or contributed to any injury or damages to Mrs.

Fabrizius. As such, Dr. Shultz is entitled to summary judgment on the punitive

claim.

         B. Plaintiffs’ punitive damage claim does not relate back to the filing of the
            original complaint and is barred by the statute of limitations.

         If this Court does not dismiss Plaintiffs’ claim for punitive damages based on

the failure to meet the threshold showing on causation, this Court should dismiss the

claim because it is barred by the statute of limitations. The allegation in Plaintiffs’

Second Amended Complaint states that Dr. Shultz altered or changed Denise

Fabrizius’ medical records and that such alleged conduct “amounts to actual malice

and fraud as defined in § 27-1-221, MCA.” DSSUF, ¶ 11-13. The only evidence as

to when the preliminary report was corrected came from Dr. Shultz who stated that

he typically reviews and finalizes the dictation one to two weeks after he dictates the

note. DSSUF, ¶ 8. He dictated this note on the day of the procedure, November

11, 2004.      DSSUF, ¶ 8.

         The testimony reveals that the record had been finalized and corrected or

changed by November 24, 2004. The claim of medical malpractice filed before the

Montana Medical Legal Panel [MMLP] on November 6, 2007, was based solely on

the date of November 10, 2004. It was received on November 6, 2007. DSSUF, ¶
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4. The Panel rendered a Decision on February 19, 2008. DSSUF, ¶ 5. The statute

of limitations is tolled upon receipt of the MMLP Application until thirty days after

the decision, § 27-6-702, MCA (2009). As such, Plaintiffs timely filed the original

Complaint on March 18, 2008, five days before the statute of limitations based on

the November 10, 2004, medical care expired. DSSUF, ¶ 5.

      A new claim relates back to the original complaint if it arises out of the same

conduct, transaction, or occurrence as the claims in the original complaint. Moore

v. Baker, 989 F.2d 1129, 1131 (11th Cir. 1993) (citing Fed.R.Civ.P. 15(c)). The

"critical issue" is whether the original complaint gave notice to the defendant of the

claim now being asserted. Id. "When new or distinct conduct, transactions, or

occurrences are alleged as grounds for recovery, there is no relation back and

recovery under the amended complaint is barred by limitations if it was untimely

filed." Id. (citing Holmes v. Greyhound Lines, Inc., 757 F.2d 1563, 1566 (5th Cir.

1985)).

      Here, Plaintiffs’ claim for punitive damages is not based on the same conduct,

transaction, or occurrence as the negligence claims arising from the November 10,

2004 procedure. Instead, the punitive claim is based on new, distinct conduct

involving the medical record. The conduct alleged to allow punitive damages in

this case occurred one to two weeks after the November 10, 2004 conduct at issue in

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the original Complaint. DSSUF, ¶ 8. Additionally, the new claim involving the

medical record requires Plaintiffs to prove completely different facts than those

alleged at the MMLP or in the original Complaint. As such, neither the MMLP

claim nor the original Complaint made reference to a single fact that put Dr. Shultz

on notice that these new claims based on his record review might be asserted.

Finally, even when Plaintiffs’ counsel took Dr. Shultz’s deposition, Dr. Shultz

received absolutely no notice of the record alteration claim.

      Because the alteration of record claim is distinct from the original medical

negligence claim and because the claim was neither made nor mentioned until very

recently, the new claim should not relate back to the original Complaint.

Additionally, for the reasons set forth above, Plaintiffs should not be allowed to

benefit from the tolling provisions of the MMLP. As such, Plaintiffs’ claims for

punitive damages based on alteration of the record should be dismissed based on the

expiration of the statute of limitations.

      C. Plaintiffs’ claim of an alteration or change in the medical records should
      be dismissed because Plaintiffs failed to present the claim to the Montana
      Medical Legal Panel.

      If this Court concludes that the claim of alteration of the record relates back to

the original claim of medical negligence, then the claim of actual malice or fraud

based on an alleged alteration of the record is a medical malpractice claim as defined

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by the MMLP Act . Montana adopted the Medical Legal Panel Act to "prevent

where possible the filing in court of actions against health care providers and their

employees for professional liability in situations where the facts do not permit at

least a reasonable inference of malpractice." § 27-6-102, MCA (2009). Claimants

must submit any claims to the Montana Medical Legal Panel [MMLP] prior to filing

a complaint in any court sitting in Montana. § 27-6-301, MCA (2009). "No

malpractice claim may be filed in any court against a health care provider before an

application is made to the panel and its decision is rendered." § 27-6-701, MCA

(2009). Malpractice claim is defined as follows:

      A claim or potential claim . . . against a health care provider for medical
      or dental treatment, lack of medical or dental treatment or other alleged
      departure from accepted standards of health care that proximately
      results in damage to the claimant, whether the claimant’s claim or
      potential claim sounds in tort or contract, and includes but is not limited
      to allegations of battery or wrongful death.

§ 27-6-103(5), MCA (2009). Malpractice claims as defined by the MMLP Act

include intentional conduct such as those constituting a battery. It follows that

intentional conduct which constitutes actual malice or fraud pursuant to the punitive

damage statute must also be heard before the MMLP prior to being brought before

courts in Montana.

      Plaintiffs have failed to submit their new claim of alteration of a medical

record to the MMLP as required by §§ 27-6-301 and 27-6-701, MCA (2009). As
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such, Plaintiffs’ medical malpractice claim based on the alleged alteration of a record

should be dismissed without prejudice for failure to first bring the claim before the

MMLP.

      C. Plaintiffs’ third cause of action pertaining to the doctrine of res ipsa
         loquitur should be dismissed.

   Plaintiffs’ third cause of action asserts the doctrine of res ipsa loquitur. DSSUF,

¶ 11. Plaintiffs may not rely on the doctrine of res ipsa loquitur to establish their

claims of medical malpractice in this case because in Montana’s medical

malpractice arena, res ipsa loquitur applies only to cases where foreign objects are

left in a patient’s body. Rudeck v. Wright (1985), 218 Mont. 41, 709 P.2d 621.

      In Rudeck, the physician placed a lap mat in a patient’s exposed abdominal

cavity during surgery and the mat was not removed before the incision was closed.

Rudeck, 218 Mont. at 44, 709 P.2d at 623. The issue in Rudeck was whether the

physician was negligent as a matter of law in leaving a foreign object inside his

patient during surgery. Rudeck, 218 Mont. at 47, 709 P.2d at 625. In determining

this issue, the Court considered whether to adopt the negligence per se rule that “the

failure of a surgeon to remove a foreign object (sponge, needle, clamp, scissors) is

negligence per se.” Rudeck, 218 Mont. at 47, 709 P.2d at 625. Each of the

authorities regarding this rule discussed by the Court involved a foreign object being

left inside a patient. Rudeck, 218 Mont. at 48-49, 709 P.2d at 625-26.
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      In Rudeck, the court adopted the negligence per se rule, explaining: “If a

foreign object is mistakenly left in the patient’s body, it seems to us that it takes no

expert medical testimony to establish that the surgeon was negligent.” Rudeck, 218

Mont. at 49-50, 709 P.2d 626. The Court sought to prevent the surgeon from

avoiding liability by pointing his finger at other negligent parties, such as the

surgical nurses who failed to correctly count the sponges and the radiologist who

subsequently failed to detect the sponge on X-rays. Rudeck, 218 Mont. at 50, 709

P.2d at 626.

      The present case is distinguishable from Rudeck. While Dr. Shultz did give

Mrs. Fabrizius a cervical epidural injection, he did not leave a foreign object inside

Plaintiff’s body during surgery. Injecting a patient with a drug for pain relief is

different from leaving an object such as a sponge inside a patient’s body. As such,

Plaintiffs’ third cause of action claiming res ipsa loquitur should be dismissed

summarily.

      V.       Conclusion

      For the reasons explained herein Plaintiffs claims for punitive damages and

for liability based on res ipsa loquitur against Dr. Shultz should be dismissed with

prejudice. Plaintiffs can present no material issues of fact showing Dr. Shultz’s

alleged punitive conduct caused damage to Plaintiffs.               Additionally and,

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alternatively, Plaintiffs punitive damages claims involving alteration of the record

should not relate back to the professional negligence claims and should be dismissed

as time-barred by the applicable statute of limitations. If this court concludes the

punitive claims relate back to the original malpractice claim brought before the

MMLP, then Plaintiffs’ claims must be dismissed without prejudice and Plaintiffs

must bring the claim before the MMLP. Finally, Plaintiffs’ cause of action based

on res ipsa loquitur should be dismissed because no foreign body was negligently

left in Mrs. Fabrizius’ body. Therefore, Defendant, Keith Shultz, M.D., is entitled

to summary judgment on the punitive damages claims and the claim based on res

ipsa loquitur. The two causes of action should be dismissed with prejudice.

      DATED this 3rd day of November, 2009.


                         By:     /s/ Lisa A. Speare
                                Lisa A. Speare
                                BROWN LAW FIRM, P.C.
                                Attorneys for Defendant Keith R. Shultz, M.D.




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(d)(2) of the Local Rules of the U.S. District Court

for the District of Montana, I certify that this brief is printed with a proportionately

spaced Times New Roman text typeface of 14 points; is double spaced; and the word

count calculated by Microsoft Word is 3,675 words, excluding Caption, Certificate

of Service and Certificate of Compliance.

      DATED this 3rd day of November, 2009.


                           By:   /s/ Lisa A. Speare
                                 Lisa A. Speare
                                 BROWN LAW FIRM, P.C.
                                 Attorneys for Defendant Keith R. Shultz, M.D.




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                         CERTIFICATE OF SERVICE
      I hereby certify that, on November 3, 2009, a copy of the foregoing
DEFENDANT KEITH R. SHULTZ, M.D.’S MOTION FOR PARTIAL
SUMMARY JUDGMENT AND BRIEF IN SUPPORT was served on the following
persons by the following means:

1, 2, 3, 4       CM/ECF                                 Fax
                 Hand Delivery              ______      E-Mail
5                Mail                                   Overnight Delivery Services

    1.   Clerk, U.S. District Court

    2.   David Paoli
         Paoli, Latino, Kutzman & Jasper
         257 West Front Street
         P. O. Box 8131
         Missoula, MT 59802

    3.   Stephen Ochs, M.D., J.D.
         805 South Reserve Street
         Missoula, MT 59804

    4.   Richard E. Gillespie
         50 S. Last Chance Gulch, 3rd Floor
         P.O. Box 598
         Helena, MT 59624

    5.   Colin M. Simpson
         Simpson, Kepler & Edwards, LLC
         P.O. Box 490
         Cody, WY 82414


                            By:       /s/ Lisa A. Speare
                                      Lisa A. Speare
                                      BROWN LAW FIRM, P.C.
                                      Attorneys for Defendant Keith R. Shultz, M.D.


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